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UNITED STATES DISTRICT COURT ee STY cnn Sh _
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

   

 

-UNITED STATES OF AMERICA
ex rel. RUDY MICHAEL SHAW and

Be1lLZCVO482°G

MICHAEL HURLEY,
Case No.
Plaintiffs,
FILED IN CAMERA AND
V. UNDER SEAL
PREM REDDY, M.D., PRIME
HEALTHCARE SERVICES, INC.,
PRIME HEALTHCARE FOUNDATION, JURY TRIAL DEMANDED

INC., PRIMERA MEDICAL
TECHNOLOGIES PVT. LTD, DALLAS
MEDICAL CENTER, LLC,
HARLINGEN MEDICAL CENTER,
LIMITED PARTNERSHIP, KNAPP
MEDICAL CENTER, PRIME
HEALTHCARE SERVICES — BLUE
SPRINGS, LLC, PRIME HEALTHCARE
SERVICES —- GADSDEN, LLC, PRIME
HEALTHCARE SERVICES — GARDEN
CITY, LLC, PRIME HEALTHCARE
SERVICES — KANSAS CITY, LLC,
PRIME HEALTHCARE SERVICES —
LANDMARK, LLC, PRIME
HEALTHCARE SERVICES ~ LEHIGH
ACRES, LLC, PRIME HEALTHCARE
SERVICES — LOWER BUCKS, LLC,
PRIME HEALTHCARE SERVICES —
MESQUITE, LLC, PRIME
HEALTHCARE SERVICES — MONROE,
LLC, PRIME HEALTHCARE
SERVICES — NORTH VISTA, LLC,
PRIME HEALTHCARE SERVICES —
PAMPA, LLC, PRIME HEALTHCARE
SERVICES — PORT HURON, LLC,
PRIME HEALTHCARE SERVICES —
PROVIDENCE, LLC, PRIME
HEALTHCARE SERVICES — RENO,
LLC, PRIME HEALTHCARE

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SERVICES — ROXBOROUGH, LLC, )
PRIME HEALTHCARE SERVICES — _)
SAINT CLARE’S, LLC, PRIME )
HEALTHCARE SERVICES — SAINT )
JOHN LEAVENWORTH, LLC, PRIME)
HEALTHCARE SERVICES - ST. )
MARY’S PASSAIC, LLC, PRIME )
HEALTHCARE SERVICES - ST. )
MICHAEL'S, LLC, PRIME )
HEALTHCARE SERVICES -— )
SUBURBAN HOSPITAL, LLC, )
PRIME HEALTHCARE FOUNDATION )
—- COSHOCTON, LLC, PRIME )
HEALTHCARE FOUNDATION — EAST)
LIVERPOOL, LLC, and PRIME )
HEALTHCARE FOUNDATION — )
SOUTHERN REGIONAL, LLC, )

)

)

)

Defendants.

 

COMPLAINT

On behalf of the United States of America (“United States”) and themselves,
relators Rudy Michael Shaw and Michael Hurley (“Relators”) file this qui tam
complaint against Prem Reddy, M.D. (“Reddy”), Prime Healthcare Services, Inc.
(“Prime”), Prime Healthcare Foundation, Inc. (“Foundation”), PrimEra Medical
Technologies Pvt. Ltd, (“PrimEra”), Dallas Medical Center, LLC, Harlingen Medical
Center, Limited Partnership, Knapp Medical Center, Prime Healthcare Services —
Blue Springs, LLC, Prime Healthcare Services — Gadsden, LLC, Prime Healthcare
Services — Garden City, LLC, Prime Healthcare Services — Kansas City, LLC, Prime
Healthcare Services — Landmark, LLC, Prime Healthcare Services — Lehigh Acres,

LLC, Prime Healthcare Services ~ Lower Bucks, LLC, Prime Healthcare Services —
 

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Mesquite, LLC, Prime Healthcare Services — Monroe, LLC, Prime Healthcare
Services — North Vista, LLC, Prime Healthcare Services — Pampa, LLC, Prime
Healthcare Services — Port Huron, LLC, Prime Healthcare Services — Providence,
LLC, Prime Healthcare Services — Reno, LLC, Prime Healthcare Services —
Roxborough, LLC, Prime Healthcare Services — Saint Clare’s, LLC, Prime
Healthcare Services — Saint John Leavenworth, LLC, Prime Healthcare Services —
St. Mary’s Passaic, LLC, Prime Healthcare Services — St. Michael’s, LLC, Prime
Healthcare Services — Suburban Hospital, LLC, Prime Healthcare Foundation —
Coshocton, LLC, Prime Healthcare Foundation — East Liverpool, LLC, and Prime
Healthcare Foundation — Southern Regional, LLC (collectively “Defendants”), and
allege as follows:
INTRODUCTION

1. This is a civil action to recover damages and penalties on behalf of the
United States arising from false claims and statements made, caused, and/or
presented by the Defendants in violation of the False Claims Act, 31 U.S.C. § 3729 et
seq. (“False Claims Act”).

2. The False Claims Act allows an individual, known as a relator or
whistleblower, to file an action on behalf of the Government for violations of the
False Claims Act and receive a portion of any recovery as an award. 31 U.S.C. § 3730.
Under the False Claims Act, the complaint must be filed under seal, without service

on the defendants, to enable the Government to conduct its own investigation
 

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without the defendants’ knowledge and to allow the Government an opportunity to
intervene in the action.

3. Defendant Reddy is a well-known cardiologist and owner of Defendants
Prime, Foundation, and upon information and belief, PrimEra. Reddy, through
either Prime or Foundation, purchases distressed hospitals (including, but not
limited to, those named in this Complaint) and turns them into profit centers
through aggressive and fraudulent billing practices. Reddy operated all of his
companies as one “Prime” brand.

4, Relators are former senior level employees of Defendant Dallas Medical.
Center, LLC and, as such, were privy to and a part of multiple conversations and
meetings with Reddy and other executives of Prime and Foundation regarding the
corporate policies and expectations of all affiliated hospitals.

5. Of the fraudulent policies put into place by Reddy and other executives
of Prime, Foundation, and the hospitals, four of the most egregious fraudulent
corporate policies were: (1) improperly admitting patients age sixty-five or over
through the Emergency Department instead of discharging them or treating them as
outpatient in order to increase reimbursement amounts because they had Medicare;
(2) altering patient charts to guarantee maximum reimbursement; (3) submitting
claims for reimbursement for accounts that have been upcoded by Defendant

PrimEra; and (4) retaining Medicare overpayments.
 

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RELATORS

6. Mr. Shaw is a Texas Registered Nurse who worked for Defendant
Dallas Medical Center, LLC between 2003 and 2016, most recently as the Director of
the Emergency Department and Intensive Care Unit and has personal, non-public
information regarding the violations of the False Claims Act described herein.

7. Mr. Hurley is an experienced healthcare financial manager who worked
for Defendant Dallas Medical Center, LLC between August, 2015 and July, 2016 as
the Director of the Revenue Cycle and has personal, non-public information
regarding the violations of the False Claims Act described herein.

8. Furthermore, Relators qualify as the “original source” of the allegations
made pursuant to 31 U.S.C. § 3730(e)(4)(B). Specifically, the violations alleged herein
are based upon Relators’ personal knowledge, expertise, and non-public documents
made available to Relators during the course of Relators’ employment and
communications with Defendants. Relators provided the information that forms the
basis of the allegations made herein to the Government prior to filing this Complaint.

DEFENDANTS

9. Defendant Reddy has a primary residence in Apple Valley, California
and a principal place of business in Ontario, California.

10. Defendant Prime is a Delaware for-profit corporation with a principal
place of business in Ontario, California.

11. Defendant Foundation is a Delaware non-profit corporation with a

principal place of business in Ontario, California.
 

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12. Defendant PrimEra is an Indian private, non-government company

limited by shares, with a registered address of 1-98/9/6/MT/9-A,B and C, 9th Floor,

Melange Tower No. 23/37, Madhapur, Serilingampally Mandal Hyderabad TG

500081 India.

13. Reddy, through Prime and/or Foundation, has acquired dozens of

hospitals across the country (“Prime Hospitals”) to be operated as part of the “Prime”

brand, including, but not limited to,:

a.

Dallas Medical Center (“DMC”), operated by Defendant Dallas
Medical Center, LLC with a principal place of business in Dallas,
Texas and acquired by Prime in or around 2012;

Harlingen Medical Center, operated by Defendant Harlingen
Medical Center, Limited Partnership, with a principal place of
business in Harlingen, Texas and acquired by Prime in or around
2011;
Knapp Medical Center, operated by Defendant Knapp Medical
Center, with a principal place of business in Weslaco, Texas and
acquired by Prime in or around 20138;

St. Mary’s Medical Center, operated by Defendant Prime
Healthcare Services — Blue Springs, LLC, with a principal place
of business in Blue Springs, Missouri and acquired by Prime in or

around 2015;
 

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e. Riverview Regional Medical Center, operated by Defendant Prime
Healthcare Services — Gadsden, LLC, with a principal place of
business in Gadsden, Alabama and acquired by Prime in or
around 2015;

f. Garden City Hospital, operated by Defendant Prime Healthcare
Services — Garden City, LLC, with a principal place of business in
Garden City, Michigan and acquired by Prime in or around 2014;

g. St. Joseph Medical Center; operated by Defendant Prime
Healthcare Services — Kansas City, LLC, with a principal place of
business in Kansas City, Missouri and acquired by Prime in or
around 2015;

h. Landmark Medical Center, operated by Defendant Prime
Healthcare Services — Landmark, LLC, with a principal place of
business in Woonsocket, Rhode Island and acquired by Prime in or
around 2013;

1. Lehigh Regional Medical Center, operated by Defendant Prime
Healthcare Services — Lehigh Acres, LLC, with a principal place of
business in Lehigh Acres, Florida and acquired by Prime in or
around 2016;

j. Lower Bucks Hospital, operated by Defendant Prime Healthcare
Services — Lower Bucks, LLC, with a principal place of business in

Bristol, Pennsylvania and acquired by Prime in or around 2012;
 

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k. Dallas Regional Medical Center, operated by Defendant Prime
Healthcare Services — Mesquite, LLC, with a principal place of
business in Mesquite, Texas and acquired by Prime in or around
2015;

1. Monroe Hospital, operated by Defendant Prime Healthcare
Services — Monroe, LLC, with a principal place of business in
Bloomington, Indiana and acquired by Prime in or around 2014;

m. North Vista Hospital, operated by Defendant Prime Healthcare
Services — North Vista, LLC, with a principal place of business in
North Las Vegas, Nevada and acquired by Prime in or around
2015;

n. Pampa Regional Medical Center, operated by Defendant Prime
Healthcare Services — Pampa, LLC, with a principal place of
business in Pampa, Texas and acquired by Prime in or around
2012;

oO. Lake Huron Medical Center, operated by Defendant Prime
Healthcare Services — Port Huron, LLC, with a principal place of
business in Port Huron, Michigan and acquired by Prime in or
around 2015;

p. Providence Medical Center, operated by Defendant Prime

Healthcare Services — Providence, LLC, with a principal place of
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business in Kansas City, Kansas and acquired by Prime in or
around 2013;

q. Saint Mary’s Regional Medical Center, operated by Defendant
Prime Healthcare Services — Reno, LLC, with a principal place of
business in Reno, Nevada and acquired by Prime in or around
2012;

r, Roxborough Memorial Hospital, operated by Defendant Prime
Healthcare Services — Roxborough, LLC, with a principal place of
business in Philadelphia, Pennsylvania and acquired by Prime in
or around 2012;

s, Saint Clare’s Hospital — Dover, operated by Defendant Prime
Healthcare Services — Saint Clare’s, LLC, with a principal place of
business in Dover, New Jersey and acquired by Prime in or
around 2015;

t. Saint Clare’s Hospital — Denville, operated by Defendant Prime
Healthcare Services — Saint Clare’s, LLC, with a principal place of
business in Denville, New Jersey and acquired by Prime in or
around 2015;

u. Saint John Hospital, operated by Defendant Prime Healthcare
Services — Saint John Leavenworth, LLC, with a principal place of
business in Leavenworth, Kansas and acquired by Prime in or

around 2013;
 

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v. St. Mary’s General Hospital, operated by Defendant Prime
Healthcare Services — St. Mary’s Passaic, LLC, with a principal
place of business in Passaic, New Jersey and acquired by Prime in
or around 2014;

w. Saint Michael’s Medical Center, operated by Defendant Prime
Healthcare Services — St. Michael’s, LLC, with a principal place of
business in Newark, New Jersey and acquired by Prime in or
around 2015;

Xx, Suburban Community Hospital, operated by Defendant Prime
Healthcare Services — Suburban Hospital, LLC, with a principal
place of business in East Norriton, Pennsylvania and acquired by
Foundation in or around 2016;

y. Coshocton Regional Medical Center, operated by Defendant Prime
Healthcare Foundation — Coshocton, LLC, with a principal place
of business in Coshocton, Ohio and acquired by Foundation in or
around 2016;

Z. East Liverpool City Hospital, operated by Defendant Prime
Healthcare Foundation — East Liverpool, LLC with a principal
place of business in East Liverpool, Ohio and acquired by
Foundation in or around 2016; and

aa. Southern Regional Medical Center, operated by Defendant Prime

Healthcare Foundation — Southern Regional, LLC, with a

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principal place of business in Riverdale, Georgia and acquired by
Foundation in or around 2016.
JURISDICTION AND VENUE

14, Relators bring this action on behalf of themselves and the United States
pursuant to 31 U.S.C. § 3730(b)(1).

15. This Court has subject matter jurisdiction over Plaintiffs’ claims arising
under the False Claims Act, 31 U.S.C. § 3729 et seq., pursuant to 31 U.S.C. § 3732(a)
and 28 U.S.C. §§ 1331 and 1345. This Court has supplemental jurisdiction to
entertain common law or equitable claims pursuant to 28 U.S.C. § 1367(a).

16. This Court has personal jurisdiction over Defendants pursuant to 31
U.S.C. § 3732(a) because Defendants can be found in, reside in, and/or have
transacted business within this Court’s jurisdiction.

17. Venue is proper in this district under 28 U.S.C. § 1391(b)-(), and 31
U.S.C. § 3732(a) because at least one Defendant resides in this district and because
alleged violations of the False Claims Act occurred in this district.

BACKGROUND
A. The Medicare Program

18. Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395, et seq.,
established the Health Insurance for the Aged and Disabled Program or the
Medicare Program (“Medicare”). Medicare is available to individuals over the age of
sixty-five and individuals under the age of sixty-five with certain disabilities and/or

diseases.

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19. Original Medicare is a fee-for-service healthcare plan that consists of
two parts, Part A Medicare and Part B Medicare. Part A Medicare pays for hospital
care, hospice care, skilled nursing facility care, and some home health care. Medicare

Part B covers medically necessary services and preventative services.
DEFENDANTS’ MISCONDUCT
A. Admitting Patients Through The Emergency Department

20. Since being acquired by Prime and/or Foundation, the Prime Hospitals
have been improperly admitting patients age sixty-five or older that present at the
Emergency Department to maximize Medicare reimbursement.

21. Following the acquisition of each Prime Hospital, Reddy, through his
agents, instituted a series of Emergency Department policies designed to maximize
Medicare reimbursement such as expecting employees to admit all patients age
sixty-five or over that present to the Emergency Department and find any reason
they could to justify admission.

22. To ensure compliance with this expectation, daily meetings were held
with corporate executives to discuss the reasons why any patient age sixty-five or
over was not admitted and other ideas to generate revenue such as transferring
patients that were denied surgery or other procedures to the Emergency Department
to be admitted so the surgery would be covered and upcoding claims.

23. As the Director of the Emergency Department and Intensive Care Unit
at DMC, Relator Shaw was constantly discussing Emergency Department

admissions with his superiors and other policies including a quota requirement that

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20% of all patients, regardless of age and insurance, that presented to DMC’s
Emergency Department were to be admitted. As part of his duties, Mr. Shaw was
responsible for keeping the reports as to who was admitted into the hospital and
reviewing the patients’ information.

24. Each morning at 8:30 A.M. at DMC, Mr. Shaw, DMC executives and
directors, other area Prime Hospital executives and directors, and Prime corporate
officer Deborah Meeks, the Chief Nursing Officer of the Southern Region of Prime
Hospitals and agent of Reddy, would meet to review Emergency Department patients
from the previous day. Ms. Meeks, as the agent of Reddy, directed the corporate
policy in the Southern Region that all patients age sixty-five or over that present to
the Emergency Department were to be admitted.

25. During those meetings, Mr. Shaw was often tasked with the
responsibility of investigating the reasoning behind any patient age sixty-five or over
who was not admitted. While the reason was obvious to Mr. Shaw and the
physicians, the patient’s condition did not justify admission, the corporate policy was
clear: any patient age sixty-five or over was to be admitted regardless of his or her
individual needs and condition.

B. Altering Patient Charts For Higher Reimbursement

26. Since being acquired by Prime and/or Foundation, the Prime Hospitals

have been improperly altering patient charts to assure the highest reimbursement

rate.

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27. In the first of his monthly teleconference meetings with Reddy and
other executives of Prime and Foundation such as Sheila Reddy, Corporate Vice
President of Revenue Cycle at Prime (“Sheila”), Relator Hurley was asked by Reddy
why certain patients were denied by Medicare for “one day stay” claims. Mr. Hurley
responded that Medicare does not reimburse for one day inpatient stays. For those
particular patients, Reddy ordered Mr. Hurley to manipulate the charts and
resubmit to assure reimbursement because that was “the corporate way.” When Mr.
Hurley refused, Reddy ordered him to send the list to Sheila so she could alter the
charts and resubmit at a corporate level. Mr. Hurley never sent Sheila the
information, so it is unknown the status of those claims, however Reddy instituted a
corporate policy that all future patients were required to stay in the hospital long
enough to capture the Medicare reimbursement.

28. Following this meeting, Reddy instructed Mr. Hurley to teach all
employees at DMC the corporate policy and show them how to alter the patient
information to assure that all patients are coded as having a status that would get
the highest possible reimbursement. For instance, if a patient was scheduled for an
outpatient procedure but it was determined that the reimbursement rate was higher
if the patient was admitted, then Reddy’s instructions were for staff to work with
physicians to admit the patient, perform the procedure inpatient, and then submit

for reimbursement at the inpatient rates.

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29. While Mr. Hurley never instructed his team or others to do this,
directors of local Prime Hospitals informed Mr. Hurley that their respective hospitals
were also altering patients’ charts because that was “the corporate way.”

C. Sending Claims To India To Be Upcoded

30. Since being acquired by Prime and/or Foundation, the Prime Hospitals
have been submitting claims to Medicare that were changed by Defendant PrimeEra
in India to reflect a higher level of care than actually performed.

31. Relator Hurley first became aware of this corporate policy in or around
2015, following Reddy’s acquisition of PrimEra. Since then, Mr. Hurley had weekly
telephone conferences with PrimEra and others regarding how the claims were being
coded. When concerns were brought up that claims were coded at a higher rate than
actually performed, PrimEra would disregard the concerns and respond that they
were the “experts” and knew “the corporate way.” For example, in or around May,
2016, Michelle Terry, Manager of Wound Care at DMC, complained to Mr. Hurley
that all of her accounts were being denied because PrimEra was coding claims at a
different rate than the medical records justified. When Mr. Hurley brought these
concerns to PrimEra’s attention during a weekly telephone conference, these
concerns were also ignored.

32. Mr. Hurley, suspicious of these and other concerns from other members,
performed an audit on all Emergency Department accounts at DMC and discovered
that each account was being billed to Medicare and other insurance programs at a

Level 5, the highest possible level. For example, when Mr. Hurley visited the

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Emergency Department at DMC for a fracture in or around March, 2016, a
well-known Level 2, DMC submitted the bill to his insurance company at a Level 5.
D. Retaining Overpayments

33. Since being acquired by Prime and/or Foundation, the Prime Hospitals
have been retaining Medicare overpayments.

34. The corporate policy at Prime, Foundation, and the Prime Hospitals is
to use any and all means using “the corporate way” to retain overpayments by
Medicare and other insurance programs.

35. One way of retaining overpayments was by editing the Medicare Credit
Balance Reports. Each quarter, hospitals are required to send to Medicare reports
which include accounts that are in a credit balance, meaning they are potentially
overpaid and thus need to be returned. At DMC, these reports were submitted never
showing any account in credit balance.

36. When Relator Hurley spoke with Sheila about his concerns regarding
the lack of credit balances in or around December, 2015, Sheila took away the
reporting responsibility from Mr. Hurley and DMC, and all future Medicare Credit
Balance Reports were submitted by Sheila on behalf of DMC.

37. Another way that Defendants improperly retained overpayments was
following any request for repayment, Defendants refused to pay and would use the
threat of litigation against agents of the Government such as managed Medicare

companies.

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38. Originally, all overpayment requests were sent directly to corporate to
be handled. However, in an email communication to all Prime Hospital Business
Directors, including Relator Hurley, Sheila transferred those responsibilities to the
individual hospitals, with the instruction that no overpayments were to be repaid.
Instead, the Prime Hospitals were to forward the requests to Sheila and her team for
a full review. If Sheila decided not to issue a refund, they would refuse to pay the
refund, terminate the contract, and/or threaten litigation. Mr. Hurley was not aware
of any overpayment that was repaid during his time working for Defendants.

COUNT I
PRESENTMENT OF CLAIMS IN VIOLATION OF THE FALSE CLAIMS ACT (31

U.S.C. § 38729(a)(1)(A))

39. Relators re-allege and incorporate by reference the allegations
contained in paragraphs 1 through 38 as if fully stated in this Count.

40. This is a claim for treble damages and civil penalties under the False
Claims Act, 31 U.S.C. § 3729(a)(1)(A).

41. By virtue of the acts described above, Defendants knowingly presented
or caused to be presented to the United States Government false or fraudulent
claims.

42. Such claims were false or fraudulent because Defendants falsely
submitted or caused to be submitted claims to Medicare that were not eligible for
reimbursement and/or altered.

43. The United States, unaware of the falsity of the claims made or caused

to be made by the Defendants, paid Defendants for claims that should not have been

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COUNT II
FALSE STATEMENTS IN VIOLATION OF THE FALSE CLAIMS ACT (31 U.S.C. §

3729(a)(1)(B

49. Relators re-allege and incorporate by reference the allegations
contained in paragraphs 1 through 38 as if fully stated in this Count.

50. This is a claim for treble damages and civil penalties under the False
Claims Act, 31 U.S.C. § 3729(a)(1)(B).

51. By virtue of the acts described above, Defendants made, used, and
caused to be made and used, false records and statements that were material and
caused or contributed to improper payments of Federal funding to Defendants.

52. Specifically, Defendants made, used, and caused to be made and used,
material false records and statements in relation to claims that were not eligible for
reimbursement and/or altered.

53. The United States, unaware of the falsity of the records and statements,
paid Defendants for claims that would otherwise not have been allowed.

54. Payment by the United States for all claims submitted or caused to be
submitted by Defendants was conditioned upon Defendants’ compliance with the
laws and regulations described herein.

55. By knowingly, willfully, or recklessly making, or causing others to
make, false statements and certifications material to the United States’ decision to
pay on false claims, Defendants have defrauded the United States in contravention of

the False Claims Act, 31 U.S.C. § 3729(a)(1)(B), to the damage of the Treasury of the

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United States, by causing the United States to pay out money that it was not
obligated to pay. In carrying out these wrongful acts, Defendants have engaged in a
protracted course and pattern of fraudulent conduct that was material to the United
States’ decision to pay these false claims.

56. As a direct and proximate result of Defendants’ fraudulent and/or
illegal actions and pattern of fraudulent conduct, the United States has paid directly
or indirectly false claims that it would not otherwise have paid.

57. Damages to the United States include, but are not limited to, three
times the full value of all such fraudulent claims.

58. Each and every such fraudulent claim is also subject to a civil fine under
the False Claims Act as modified by the Federal Civil Penalties Inflation Act
Improvements Act of 2015.

COUNT III
RETENTION OF OVERPAYMENTS IN VIOLATION OF THE FALSE CLAIMS
ACT (381 U.S.C. § 3729(a)(1)(G))

59. Relators re-allege and incorporate by reference the allegations
contained in paragraphs 1 through 38 as if fully stated in this Count.

60. This is a claim for treble damages and civil penalties under the False
Claims Act, 31 U.S.C. § 3729(a)(1)(G).

61. By virtue of the acts described above, Defendants have knowingly

concealed and/or knowingly and improperly avoided an obligation to transmit money

to the Government. Specifically, Defendants knew or should have known that they

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received millions of dollars in payments from contracts that they were not eligible to
receive.

62. Once known, even if the improper payments were not fixed or clearly
defined, Defendants had an obligation under Section 1128J(d) of the Social Security
Act to remit or report such funds to the Government within sixty days. Defendants
have not reported or returned the improper payments described herein.

63. By knowingly concealing and/or knowingly and improperly avoiding its
obligation to transmit money recovered to the Federal Government, Defendants have
defrauded the United States in contravention of the False Claims Act, 31 U.S.C. §
3729(a)(1)(G), to the damage of the Treasury of the United States, by causing the
United States to be deprived of funds that rightfully belong to the Government.

64. As a direct and proximate result of Defendants’ fraudulent and/or
illegal actions and fraudulent conduct, the United States has been deprived of funds
to which it is lawfully entitled and which were improperly paid to Defendants.

65. Damages to the United States include, but are not limited to, three
times the full value of all such fraudulent claims.

66. Each and every such fraudulent claim is also subject to a civil fine under
the False Claims Act as modified by the Federal Civil Penalties Inflation Act
Improvements Act of 2015.

WHEREFORE, Relators request that judgment be entered against

Defendants, ordering that:

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A trial by jury is hereby demanded.

Dated: February 21, 2017

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JURY DEMAND

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QJLALCW

JS 44-TXND (Rev. 12/12) CIVIL COVER SHEET

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or fle plod ire
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provided by local rules of court. This form, approved by the Judicial Conference of the of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS DEPUTY CLERK

United States of America ex rel. Rudy Michael Shaw and Michael Hurley | Prem Reddy, M.D. et al. ™ Sern

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant California
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

sewn 8-17CVO 482-6

Dallas, Texas 7524

 

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Pisce an “Xx” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
M1 U.S. Government 0 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 4 1 © 1 _ Incorporated or Principal Place o4 04
of Business In This State
0 2 US. Govenment 0 4 Diversity Citizen of Another State o2 0 2 Incorporated and Principal Place gos o5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a a 3 O 3 Foreign Nation 06 06

 

 

      
 

   
   

  
 

 

Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
JCONTRACE : : . _ = TORTS _FORFEITURE/PENALTY [|

110 Insurance PERSONAL INJURY PERSONAL INJURY {0 625 Drug Related Seizure

    

 
  

         

   

   

od 1) 422 Appeal 28 USC 158 W 375 False Claims Act
O 120 Marine O 310 Airplane C1 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 1 400 State Reapportionment
130 Miller Act 0 315 Airplane Product Product Liability G 690 Other 28 USC 157 OG 410 Antitrust
© 140 Negotiable Instrument Liability 367 Health Care/ 0 430 Banks and Banking
C150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical : Re 4 _]0 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 460 Deportation
C151 Medicare Act ( 330 Federal Employers’ Product Liability O 830 Patent O 470 Racketeer Influenced and
OG 152 Recovery of Defaulted Liability C1 368 Asbestos Personal 0 840 Trademark Corrupt Organizations
Student Loans 0) 340 Marine Injury Product 1 480 Consumer Credit
(Excludes Veterans) 0 345 Marine Product Liability EA) I SOCIAL SECURITY. 0 490 Cable/Sat TV
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY |9 710 Fair Labor Standards 0 861 HIA (1395ff) O 850 Securities/Commodities/
of Veteran’s Benefits ( 350 Motor Vehicle D 370 Other Fraud Act 1 862 Black Lung (923) Exchange
OG 160 Stockholders’ Suits GO 355 Motor Vehicle © 371 Truth in Lending 0) 720 Labor/Management O 863 DIWC/DIWW (405(g)) | O 890 Other Statutory Actions
© 190 Other Contract Product Liability © 380 Other Personal Relations 0 864 SSID Title XVI O 891 Agricultural Acts
O 195 Contract Product Liability | 360 Other Personal Property Damage 0 740 Railway Labor Act O 865 RSI (405(g)) O 893 Environmental Matters
0 196 Franchise Injury © 385 Property Damage 0 751 Family and Medical 895 Freedom of Information
C1 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice 0 790 Other Labor Litigation 0 896 Arbitration
LRU PR 791 Employee Retirement __ FEDERAL TAN SUE | 0 899 Administrative Procedure

    
 

( 210 Land Con 0 440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff Act/Review or Appeal of

 

   

 

 

 

 

 

 

0 220 Foreclosure © 441 Voting O 463 Alien Detainee or Defendant) Agency Decision
O 230 Rent Lease & Ejectment © 442 Employment 0 510 Motions to Vacate © 871 IRS—Third Party © 950 Constitutionality of
0 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 State Statutes
G1 245 Tort Product Liability Accommodations 530 General
© 290 All Other Real Property 0 445 Amer. w/Disabilities -| J 535 Death Penalty __ IMMIGRATION
Employment Other: G 462 Naturalization Application
0) 446 Amer. w/Disabilities -] 0 540 Mandamus & Other |[ 465 Other Immigration
Other 0 550 Civil Rights Actions
0 448 Education 0 555 Prison Condition
G 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
{1° Original 0 2 Removed from O 3 Remanded from 0 4 Reinstated or © 5 Transferredfrom 0 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity).

31 USC 3729

Brief description of cause: .
False records and statements that caused improper payments of Federal funding to Defendants.

VI. CAUSE OF ACTION

 

 

 

 

 

 

VII. REQUESTED IN © CHECK IF THIS 1S A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. JURY DEMAND: XJ Yes No
VIII. RELATED PENDING OR CLOSED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATT@RNEY OF RECORD.
02/21/2017 Mivdnre Auteren.
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
